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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF INDIANA
                                     INDIANAPOLIS DIVISION

 UNITED STATES OF AMERICA                            )
                                                     )
         Plaintiff,                                  )
                                                     )
            v.                                       )        Case No. 1:12-cr-00102-12-TWP-KPF
                                                     )
 VANCE CANNER,                                       )
                                                     )
         Defendant.                                  )

                  ENTRY DENYING MOTION TO STRIKE SURPLUSAGE

         This matter is before the Court on Defendant Vance Canner’s (“Mr. Canner”) Motion to

 Strike Surplusage from the Second Superseding Indictment1.                     Mr. Canner believes certain

 sections of the Second Superseding Indictment are irrelevant, immaterial and prejudicial, and

 thus should be stricken. For the reasons stated below, the Motion (Dkt. 1622) is DENIED.

                                             I. BACKGROUND
         On July 10, 2013, a forty-nine count Second Superseding Indictment was filed against

 Mr. Canner and 50 other co-defendants. In Count One, Mr. Canner and co-defendants are

 charged with engaging in a pattern of racketeering activity in violation of 18 U.S.C. § 1962(c).

 The racketeering acts alleged in Count One include “charges of mail fraud, wire fraud, money

 laundering, extortion, illegal gambling, bankruptcy fraud, conspiracy to distribute controlled

 substances, possession and distribution of controlled substances, possession of firearms by a

 felon, witness tampering, robbery, and unlawful use of a communication facility.” Dkt. 1623 at

 1. In his Motion to Strike Surplusage Mr. Canner asserts the following sections should be

 stricken because they are irrelevant, immaterial, and prejudicial:

         1. “Introduction” Section, Paragraph 1 of Count One of the Superseding
            Indictment that the Outlaws Motorcycle Club [“OMC”] is “an international
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  . At the time the motion to strike surplusage was filed, the Government had not yet filed the Second Superseding
 Indictment therefore Mr. Canner’s motion challenges the superseding indictment which was filed on October 10,
 2012 . Since Mr. Canner and co-defendants are proceeding to trial on the Second Superseding Indictment, the Court
 has substituted it in this pleading.
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            organization . . . whose members engaged in criminal acts, including the use
            and distribution of controlled substances, the use and threatened use of
            violence, extortion, firearms violations, obstruction of justice, illegal
            gambling, and insurance fraud.”

        2. “Introduction” Section, Paragraph 4(a) of Count One of the Superseding
           Indictment that “[t]he 1%er designation was in response to a proclamation
           issued in the 1940s by the American Motorcycle Association that ninety-nine
           percent of persons in motorcycle clubs were law abiding citizens. The 1%er
           patch signifies that the OMC members are in the other one-percent; that is, not
           a law-abiding citizen.”

        3. “Introduction” Section, Paragraph 4(c) of Count One of the Superseding
           Indictment that “OMC members also display other patches and tattoos on their
           person, their motorcycles, and other clothing, including the ‘Snitches are a
           Dying Breed’ patch, signifying the OMC’s commitment to expel, and if
           necessary, murder individuals who cooperate with law enforcement, and the
           ‘GFOD’ patch, which stands for ‘God Forgives, Outlaws Don’t’ and
           references to a revenge philosophy of the OMC.”

                                   II.     LEGAL STANDARD
        Federal Rule of Criminal Procedure 7(c)(1) states that “[t]he indictment . . . must be a

 plain, concise and definite written statement of the essential facts constituting the offenses

 charged . . . .” Fed. R. Crim. P. 7(d) states that “[u]pon the defendant’s motion, the court may

 strike surplusage from the indictment . . . .” The purpose of Rule 7(d) is to protect a defendant

 against prejudicial allegations that are neither relevant nor material to the charges made in an

 indictment, or not essential to the charge, or unnecessary, or inflammatory.” United States v.

 Poore, 594 F.2d 39, 41 (4th Cir. 1979). A motion to strike surplusage is appropriate if the

 language in an Indictment is “immaterial, irrelevant, or prejudicial.” U.S. v. Marshall, 985 F.2d

 901, 905 (7th Cir. 1993). The Court must decide whether to strike this evidence based on

 relevance and prejudice. U.S. v. O’Connor, 656 F.3d 630, 645 (7th Cir. 2011).

                                         III.   DISCUSSION
        Mr. Canner seeks to strike three paragraphs of the Second Superseding Indictment.

 Paragraph 1 identifies the OMC and indicates that it is an international criminal organization

 whose members and associates engaged in certain criminal acts, Paragraph 4(a) refers to the
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 “1%er” patch worn by OMC members and Paragraph 4(c) refers to the “Snitches Are a Dying

 Breed” patch and “GFOD” patch worn by members of he OMC.

 A.     Introduction Section, Paragraph 1

        The “Introduction” section of the Indictment describes the history, organization,

 structure, membership, funding, and codes of conduct of the OMC. Mr. Canner claims this

 paragraph is redundant, that none of the allegations are “essential facts” of the offenses charged

 and “[t]he challenged language are generalized accusations about character traits and the

 reputation of OMC members.” Dkt. 1623 at 4. Additionally, Mr. Canner argues this paragraph

 should be stricken because courts may not use “prior-crimes evidence to show that since the

 defendant committed crimes in the past, probably he [or she] committed the crime of which he is

 now accused, or that since he’s a criminal the jury might as well resolve any doubts about his

 guilt against him,” U.S. v. Edwards, 581 F.3d 604, 608 (7th Cir. 2009). In response, the

 Government asserts that because the Second Superseding Indictment defines the OMC as an

 enterprise, for each defendant it must prove the existence of an “enterprise” and a “pattern of

 racketeering activity,” which consists of two or more predicate crimes. 18 U.S.C. §§ 1962(c),

 1961(5). The Government argues that the allegations in Paragraph 1 are relevant and material

 because they deal with the charges in the subsequent paragraphs, and they are not being offered

 to show impermissible 404(b) evidence, but rather are offered to prove specific offenses charged

 in Count One of the Second Superseding Indictment.

        The Court agrees. The “pattern of racketeering” element of the Second Superseding

 Indictment under Racketeer Influenced and Corrupt Organizations Act (“RICO”) requires

 allegations of at least two acts of racketeering activity within 10 years, and allegations that these

 predicate acts are related and amount to or pose a threat of continued criminal activity. 18

 U.S.C.A. § 1961(5). The government can show continuity by either referring to a closed period

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 of repetitive conduct during a “substantial period of time” or to “past conduct that by its nature

 projects into the future with a threat of repetition.” See U.S. v. Torres, 191 F.3d 799 (7th Cir.

 1999). “A motion to strike surplusage should be granted only if the targeted allegations are

 clearly not relevant to the charge and are inflammatory and prejudicial.” U.S. v. Infelise, No. 90-

 CR-87, 1991 WL 159126, *3 (N.D. Ill. July 25, 1991). Here, the Court cannot find the proposed

 language to be irrelevant considering the RICO charges. As such, Mr. Canner has failed to show

 this paragraph is redundant, prejudicial and clearly surplusage.

 B.     Introduction Section, Paragraph 4(a) and 4(c)
        Mr. Canner next argues that the allegations in Paragraph 4(a) and 4(c) should be stricken

 because they constitute claims that the OMC members are “not law-abiding citizen[s]” based

 upon their clothes and tattoos. Specifically, Mr. Canner contends Paragraphs 4(a) and 4(c) of the

 Second Superseding Indictment are prejudicial because they allege the patches worn by OMC

 members indicate OMC are unforgiving murderers that take revenge on law-abiding citizens and

 these allegations make the jurors judge these defendants based on stereotypes and prejudice

 rather than evidence. Dkt. 1623 at 3.

        The Seventh Circuit stated that a pattern of racketeering activity is not “sporadic

 activity.” Ashland Oil, Inc. v. Arnett, 875 F.2d 1271, 1276 (7th Cir. 1989). There must be more

 than one racketeering activity, and there must be a threat of continuing activity, thus, a factor of

 continuity and a relationship means that there is a pattern. Ashland Oil, Inc., 875 F.2d at 1276.

 The Court could find that these paragraphs allege facts or circumstances relevant to the pattern

 and continuing activity of the offenses charged. As previously stated, to prove the offenses

 charged under the RICO statute, the Government must prove that a defendant was “employed by

 or associated with any enterprise” affecting its purpose through racketeering activity. 18 U.S.C.

 1962(c). The structure of an enterprise is proven by “explaining who participated in it, what they


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 did and its purpose, means and methods.” Torres, 191 F.3d at 806. These patches allegedly

 advance the OMC’s goals of intimidating potential witnesses and informants and advance the

 goals of this enterprise. The Government alleges the patches warn individuals to not cooperate

 with the government if they witness OMC members commit crimes “such as drug trafficking,

 extortion, gambling, and money laundering.” Dkt. 1710 at 5. Additionally, Count Twelve of the

 Superseding Indictment charges seven OMC members with witness tampering, and the patches

 are evidence as to how the OMC members tamper with witnesses. The “1%er” patch is evidence

 that this type of behavior will continue because the OMC is proud to be in the one-percent of

 motorcycle gangs that do not abide by the law. The Court finds the paragraphs which allege

 evidence pertaining to the “1%er” patch, the “Snitches Are a Dying Breed” patch and the

 “GFOD” patch are both relevant and material.

        As a final word, the Government attached as exhibit A (Dkt. 1710-1) an Indictment from

 an OMC prosecution in the Eastern District of Virginia which included similar allegations,

 namely: introductory language regarding “Snitches Are A Dying Breed,” the “1%er,” and the

 “GFOD” patches. The OMC in Eastern Virginia was also accused of being an enterprise and

 committing racketeering activities as well. In the unpublished decision, Werth v. United States,

 493 Fed.Appx. 361, (4th Cir. 2012), the trial court was affirmed. The indictment in that case

 included introductory statements about the “1%er” patch, “Snitches are a Dying Breed” patch

 and “GFOD” patch and the meaning of each patch. In this RICO case, Defendant Mark Jason

 Fiel moved to strike the above language as surplusage and District Judge Henry E. Hudson

 denied the motion finding the language relevant and material. In his pretrial order, Judge Henry

 stated “…the Court fails to see how the clauses objected to by Defendant are prejudicial because

 they allege facts or circumstances relevant to the offense charged….” Additionally, “by setting

 forth the information concerning the Outlaws Motorcycle Club…the United States is merely

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 providing information relevant to the enterprise element of the statute.” (See Case No. 3:10-cr-

 00170-HEH). While Judge Henry’s reasoning and rulings are not precedent, this Court agrees

 with both. Accordingly, Mr. Canner’s motion to Strike Surplusage is denied.

                                     IV. CONCLUSION

        For the reasons stated above, Mr. Canner’s Motion to Strike Surplusage (Dkt. 1622) is

 DENIED.


        SO ORDERED.
                                                      ________________________
                                                      Hon. Tanya Walton Pratt, Judge
        08/12/2013                                    United States District Court
 Date: _________________
                                                      Southern District of Indiana

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